
Barnard, P. J.
The bequest of the note to Susan A. Scott, which was described in the will as “ the joint note of' herself and John E. Scott, her husband, together with all moneys which may be due thereof, at the time of my death,” was a specific bequest. The language of the will distinguished the thing given from all others of the same kind.
By the construction of the will it is excluded from any abatement on account of an insufficiency of property to pay other legacies in full.
By the second clause of the will the testator directed the sale of' his household furniture, and to apply the proceeds to the payment of the funeral expenses, and the balance remaining was to be paid, to the First Methodist Episcopal Chuch of Matteawan, absolutely..
*923By the third, clause of the will the note in question was given, and by the fourth clause, the rest, residue and remainder was applied to the payment of certain legacies, therein given. The will provides that if there is any residue it shall be divided among “the said legatees in the samé proportion that the several legacies bore to each other,” and that a deficiency, if the “ sale of my property should prove insufficient for the payment of all said legacies in full ” should be borne in like manner. Under this clause of the will the note could not be abated and was not embraced with the legacies payable out of the residue of the estate, after its withdrawal from the estate.
The same conclusion must be reached as to the gift of the balance of moneys realized from the sale of the household furniture of the testator, and given to the Methodist Episcopal Church under the second clause in the will.
The church was given a part of the proceeds of certain definite property, and was intended to be wholly separate from his scheme for the distribution of the surplus of this balance of the estate, as affected by the fourth clause of the will. That clause created a class of legacies to be paid out of the residue of the estate, and it is only to this class that the excess was to go in proportion to the legacies.
The decree of the surrogate should therefore be modified so as to exclude the church, under the second clause of the will, and Susan A. Scott, under the third clause of the will, from participation in the excess of the estate, over and above payments of the legacies in the fourth clause of the will.
Dykman and Pratt, JJ., concur.
